          Case 3:18-cr-00067-MCR Document 24 Filed 12/13/18 Page 1 of 1
                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF FLORIDA
                               PENSACOLA DIVISION


UNITED STATES OF AMERICA

         VS                                                        CASE NO. 3:18cr67-MCR

CHRISTOPHER A. CARTER

                                  SECOND AMENDED NOTICE

TAKE NOTICE that the proceeding in this case has been continued as indicated below:

Place:                   Arnow Federal Building
                         100 North Palafox Street
                         Pensacola, FL 32502
Courtroom:               Courtroom II (2nd Floor)
New Date:                February 15, 2019               Previous Date:       December 18, 2018
New Time:                11:00 AM                        Previous Time:       1:00 PM
Time Allotted:           1 hour
Type of Proceeding:      Sentencing Hearing
                         before the Honorable M. Casey Rodgers

NOTE: If you or any party, witness or attorney in this matter has a disability that requires special
accommodation, such as a hearing impairment that requires a sign-language interpreter or a
wheelchair restriction that requires ramp access, please contact the Clerk’s office at least one week
prior to the hearing (or as soon as possible) so arrangements can be made.

                                                            JESSICA J. LYUBLANOVITS,
                                                            CLERK OF COURT

December 13, 2018                                           s/ Susan Simms
DATE                                                        Deputy Clerk: Susan Simms

Copies to:
Honorable M. Casey Rodgers
Jeffrey Tharp, AUSA
John Beroset, Esq.
US Marshal
US Probation
Court Security


Note: * Should additional time be needed, please notify the court.
